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           13
                                 UNITED STATES DISTRICT COURT, EASTERN DISTRICT
           14
                                                      FRESNO DIVISION
           15
           16    CONOPCO, INC., a New York                             Case No. 1:05 CV 00400 OWW SMS
                 corporation, doing business as
           17    UNILEVER ICE CREAM,                                   AMENDED STIPULATION AND
                                                                       ORDER FURTHER MODIFYING
           18                      Plaintiff,                          SCHEDULING CONFERENCE
                                                                       ORDER
           19             v.

           20    FOSTER DAIRY FARMS, a California
                 corporation; and DOES 1 through 50,
           21    inclusive,

           22                      Defendants.

           23
                 AND RELATED COUNTER-CLAIM.
           24
           25
           26                      WHEREAS, the Court issued the original Scheduling Conference Order in this
           27    case on August 16, 2005;
           28    ///
                 {6538/002/00197860.DOC}                        1
                 ____________________________________________________________________________________________________
                          AMENDED STIPULATION AND ORDER FURTHER MODIFYING SCHEDULING CONFERENCE ORDER

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            1                      WHEREAS, the Court has previously issued orders modifying the original

            2    Scheduling Conference Order on January 27, 2006; April 13, 2006; July 6, 2006; and

            3    September 13, 2006;

            4                      WHEREAS, the parties will be scheduling a mediation to be conducted during

            5    the week of November 13, 2006;

            6                      WHEREAS, the parties wish to postpone the deadline for submission of

            7    supplemental expert reports until after the mediation in this case, in order to possibly avoid the

            8    expense of preparing such reports in the event a settlement is reached at the mediation;

            9                      WHEREAS, due to the number of non-party and party depositions currently

           10    contemplated by the parties, the parties wish to postpone some of the depositions until after the

           11    mediation in this case, in order to possibly avoid the expense of conducting those depositions

           12    in the event a settlement is reached at the mediation;

           13                      WHEREAS, the parties seek only minor modifications to the current Scheduling

           14    Order that will not affect the current trial date of March 13, 2007, or the date for the filing of

           15    Dispositive Motions;

           16                      IT IS HEREBY STIPULATED, by and between Unilever and Foster, through

           17    their respective counsel, that the following dates be revised from the Court’s September 13,

           18    2006, Order Further Modifying the Scheduling Conference Order to the following dates:

           19                      1.      The deadline for disclosure of supplemental expert witnesses shall be

           20    moved from October 30, 2006, to November 22, 2006;

           21                      2.      The deadline for the parties to complete all discovery pertaining to non-

           22    experts shall be moved from November 7, 2006, to December 15, 2006;

           23                      3.      The deadline for the parties to complete all discovery pertaining to

           24    experts shall be moved from November 22, 2006, to December 15, 2006;

           25                      4.      The deadline for the filing of all Non-Dispositive Pre-Trial Motions,

           26    including any discovery motions, shall be moved from December 6, 2006, to December 15,

           27    2006;

           28    ///
                 {6538/002/00197860.DOC}                        2
                 ____________________________________________________________________________________________________
                          AMENDED STIPULATION AND ORDER FURTHER MODIFYING SCHEDULING CONFERENCE ORDER

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            1                      5.      The deadline for the filing of all Dispositive Motions shall remain as

            2    currently scheduled on December 11, 2006;

            3                      6.      The Pre-Trial Conference scheduled for February 6, 2007, at 2:00 p.m.

            4    before the Honorable Oliver W. Wanger, United States District Judge shall be maintained;

            5                      7.      The trial date scheduled for March 13, 2007, at 9:00 a.m. before the

            6    Honorable Oliver W. Wanger, United States District Judge shall be maintained;

            7                      8.      The parties agree that “good cause” exists for the above modifications to

            8    the Scheduling Order; and

            9                      9.      The parties reserve their right to seek further modification of the

           10    Scheduling Conference Order, if necessary.

           11    DATED: October 5, 2006                          SAGASER, JONES & HAHESY

           12
                                                                 By /s/ John P. Kinsey
           13
                                                                    John P. Kinsey, Attorneys for Defendant
           14                                                       and Counterclaimant

           15
                 DATED: October 5, 2006                          FREEMAN, FREEMAN & SMILEY LLP
           16
           17
                                                                 By    /s/ John P. Godsil
           18                                                         John P. Godsil, Attorneys for Plaintiff and
                                                                      Counterdefendant
           19
           20
                                   IT IS SO ORDERED.
           21
           22    DATED: __Oct. 5__, 2006                         _/s/ OLIVER W. WANGER_______________
                                                                     The Honorable Oliver W. Wanger
           23
           24
           25
           26
           27
           28
                 {6538/002/00197860.DOC}                        3
                 ____________________________________________________________________________________________________
                          AMENDED STIPULATION AND ORDER FURTHER MODIFYING SCHEDULING CONFERENCE ORDER

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